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FOR THE NORTHERN DISTRICT OF TE

   

 

 

 

 

FORT WORTH DIVISION 30 2019
) CLERK U.S. DISTRICT, GQUPT
American Airlines, Inc., ) By °
) deputy ; _.
Plaintiff, )
)
v. ) Civil Action No. 4:19-CV-00414-A
)
Transport Workers Union of )
America, AFL-CIO, International )
Association of Machinists and )
Aerospace Workers, and Airline )
Mechanic and Related Employee )
Association TWU/IAM, )
)
Defendants. )
)

 

UNOPPOSED MOTION FOR EXTENSION OF TIME
TO FILE OPPOSITION TO MOTION FOR CONTEMPT

Defendants Transport Workers Union of America, AFL-CIO (“TWU”), International
Association of Machinists and Aerospace Workers (“IAM”), and Airline Mechanic and Related
Employee Association TWU/IAM (“Association”) (collectively, the “Defendants”) herby move
this Court to extend Defendants’ time to respond to American’s motion for contempt sanctions
[Doc. 134] by 14 days. In support of this Motion, Defendants state the following:

1. American filed its motion on August 13, 2019. Pursuant to Local Rule 7.1,
Defendants’ Opposition is currently due on Tuesday, September 3, 2019.

2. American’s motion relies on numerous factual Declarations as well as an expert
witness report.

3. The requested two-week extension of time would allow Defendants the opportunity to

more fully respond to the facts and issues raised in American’s motion.

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4. No hearing has been scheduled in this matter, and the requested extension would not

affect any other deadlines in this proceeding.

5. Counsel for the Defendants has conferred with counsel for Plaintiff, who stated that

American Airlines does not oppose the relief requested.

WHEREFORE, Defendants respectfully request that the date for the filing of their

Opposition to American’s Motion for Contempt Sanctions be extended to September 17, 2019.

Dated: August 29, 2019

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Union of America, ALF-CIO and Airline
Mechanic and Related Employee Association TWU/IAM
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CERTIFICATE OF CONFERENCE
The undersigned counsel for Defendants is advised and certifies that on August 29, 2019
Jeff Bartos, co-lead counsel for Defendants, conferred by telephone with Robert Siegel, lead
counsel for Plaintiff, who indicated that Plaintiff does not oppose the grant of the requested two-
week extension through and including September 17, 2019 for Defendants to respond to
Plaintiffs motion for contempt sanctions [Doc. 134].

Signed this 29th day of August, 2019.

SANFORD R. DENISON

CERTIFICATE OF SERVICE
I certify that on this 29th day of August, 2019 a true and correct copy of the foregoing
document was served on counsel for all parties of record by a means permitted by Rule 5(b)(2) of
the Federal Rules of Civil Procedure (“F.R.C.P.”).

SANFORD R. DENISON
